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 5
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 8
                                    IN THE UNITED STATES DISTRICT COURT
 9
                                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                             CASE NO. 1:10-CR-00323 LJO

12                                    Plaintiff,           STIPULATION REFERRING MOTION FOR
                                                           SENTENCE REDUCTION TO FEDERAL
13                             v.                          DEFENDER’S OFFICE AND PROBATION
                                                           OFFICE AND ORDER THEREON
14   DONACIANO ROSALES-MAGANA,

15                                   Defendant.

16
17           The Court is in receipt of a motion to reduce a criminal sentence pursuant to Title 18, United

18 States Code, Section 3582(c)(2). The Court refers this motion to the Probation Office (Probation Officer
19 Brian Bedrosian) and the Office of the Federal Defender and Assistant Federal Defender Hannah Rose
20 Labaree, pursuant to General Order No. 546. The Federal Defender’s Office shall have 60 days from the
21 date the Court approves the stipulation/order to conduct an initial review of the motion to determine the
22 status of representation of the defendant.
23           1.       If the Federal Defender’s Office determines that the defendant is eligible for

24 representation and agrees to represent the defendant, a representative of the Federal Defender’s Office
25 shall file a notice of appearance in the case. If the matter has been referred to panel counsel due to a
26 conflict of interest, a copy of this order shall be forwarded by the Federal Defender’s Office to appointed
27 panel counsel who shall then determine whether the motion is meritorious and, if so, file a notice of
28 appearance in the case.
       STIPULATION/O RDER REFERRING MOTION FOR SENTENCE
       REDUCTION
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 1           2.       The notice of appearance shall indicate whether counsel intends to supplement the

 2 defendant’s motion.
 3           3.       If the defendant does not intend to supplement the motion, the government’s response

 4 will be due 14 days following counsel’s notice of appearance.
 5           4.       If defendant’s counsel intends to supplement the defendant’s motion, then the notice of

 6 appearance shall indicate the date upon which the supplement will be filed and the date upon which the
 7 government’s response shall be due. Such dates should be mutually agreeable to the parties.
 8           5.       If the parties agree that a hearing is necessary, the notice of appearance shall include the

 9 date of the hearing, preferably no earlier than two weeks after the government’s response is filed. If the
10 parties are not in agreement that a hearing is necessary, that issue should be addressed in the parties’
11 respective filings.
12           6.       Should no counsel enter an appearance on behalf of the defendant, the government will

13 file a response within 14 days of the expiration of the 60-day period referred to above.
14           7.       Upon review of the motion and response, the Court will determine whether oral argument

15 or hearing will aid its determination of the motion and notify counsel of its decision.
16 Dated: August 10, 2015                                     BENJAMIN B. WAGNER
                                                              United States Attorney
17
18                                                            /s/ Kathleen A. Servatius
                                                              KATHLEEN A. SERVATIUS
19                                                            Assistant United States Attorney
20
     Dated: August 10, 2015                                   HEATHER E. WILLIAMS
21                                                            Federal Defender
22
                                                              /s/ Hannah Rose Larabee
23                                                            HANNAH ROSE LARABEE
                                                              Assistant Federal Defender
24                                                            Attorney for Defendant
     IT IS SO ORDERED
25
     Dated: August 11, 2015
26                                                         /s/ Lawrence J. O’Neill
                                                          United States District Judge
27
28
       STIPULATION/O RDER REFERRING MOTION FOR SENTENCE
       REDUCTION
